           Case 2:22-cv-00506-RAH Document 55 Filed 09/13/22 Page 1 of 2




                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION

ALAN EUGENE MILLER,                         )
                                            )
              Plaintiff,                    )
                                            )
      v.                                    )        CASE NO. 2:22-cv-506-RAH
                                            )
JOHN Q. HAMM, Commissioner,                 )
Alabama Department of Corrections,          )
et al.,                                     )
                                            )
              Defendants.                   )

                                       ORDER

      On September 12, 2022, the Court held an evidentiary hearing on Plaintiff

Alan Eugene Miller’s Motion for Preliminary Injunction. In his motion, the Plaintiff

asks the Court to enjoin his execution by lethal injection, which is scheduled for

September 22, 2022, and to “declare that his nitrogen hypoxia election be honored.”

(Doc. 28 at 19.) In their response to the Plaintiff’s motion for preliminary injunction,

the Defendants stated that, should the Court issue an injunction, “such an injunction

would be limited in scope so as to permit Miller’s September 22, 2022, execution to

be conducted by nitrogen hypoxia.” (Doc. 42 at 10.) At the evidentiary hearing,

counsel for the Defendants stated that it was “very likely” the Alabama Department

of Corrections could execute the Plaintiff by nitrogen hypoxia on September 22,

2022, if the Court enjoined his execution by lethal injection, but counsel would not
         Case 2:22-cv-00506-RAH Document 55 Filed 09/13/22 Page 2 of 2




take a firm position as to the use of nitrogen hypoxia on that date, as that was a

decision to be made by others. Due to counsel’s vague and imprecise statements

regarding the readiness and intent to move forward with an execution on September

22, 2022, by nitrogen hypoxia as applicable to the Plaintiff should an injunction

issue, it is

       ORDERED that, on or before September 15, 2022 at 5:00 p.m. CDT, the

Defendants shall file an affidavit or declaration of Commissioner John Q. Hamm,

Attorney General Steve Marshall, or other appropriate official with personal

knowledge, definitively setting forth whether or not the Defendants can execute the

Plaintiff by nitrogen hypoxia on September 22, 2022.

       DONE, on this the 13th day of September, 2022.


                                      /s/ R. Austin Huffaker, Jr.
                               R. AUSTIN HUFFAKER, JR.
                               UNITED STATES DISTRICT JUDGE




                                        2
